EXHIBIT 30
                       IN THE UNITED STATES DISTRICT COURT
                       FOR THE DISTRICT OF MASSACHUSETTS



 AMERICAN ASSOCIATION OF
 UNIVERSITY PROFESSORS—HARVARD
 FACULTY CHAPTER et al.,                            Case No. 1:25-cv-10910

                       Plaintiffs,

                v.

 UNITED STATES DEPARTMENT OF
 JUSTICE et al.,

                       Defendants.



                             DECLARATION OF ADAM SYCHLA

I, Adam Sychla, hereby declare as follows:

       1.      I am a postdoctoral research fellow at Harvard Medical School.

       2.      I hold a Ph.D. in Biochemistry, Molecular Biology, and Biophysics from the Uni-

versity of Minnesota. I also hold a B.S. in Molecular Genetics and Physics from the Ohio State

University.

       3.      My research focuses on using RNA secondary structure analysis to generate next-

generation gene therapies.

       4.      I am a member of the Harvard Academic Workers, one of the two collective bar-

gaining units of Harvard’s chapter of the International Union, United Automobile, Aerospace and

Agricultural Implement Workers of America (“HAW–UAW”). I am also a member of the bargain-

ing committee of this chapter.

       5.      I am over the age of 18 and competent to testify as to the matters set forth in this

affidavit based on my own personal knowledge.
       6.      I am aware that the Trump administration has taken a series of actions targeting

Harvard. In particular, I am aware that on March 10, 2025, the federal government sent a letter to

Harvard and other universities warning of potential enforcement actions. I am aware that on March

31, 2025, the federal government announced a comprehensive review of federal contracts and

grants at Harvard University and its affiliates. I am aware that officials from the Trump admin-

istration sent a letter to Harvard on April 3, 2025 demanding that Harvard immediately take a long

list of actions to remain a recipient of federal funding (the “April 3 Letter”). I am aware that this

was followed by a subsequent letter from Trump administration officials on April 11, 2025 with

more detailed demands that “incorporate[d] and supersede[d] the terms” of the April 3 Letter and

which the Trump administration proposed would serve “as the basis for an agreement in principle

that will maintain Harvard’s financial relationship with the federal government” (the “April 11

Letter,” and together with the April 3 Letter, the “Demand Letters”). Both of the Demand Letters

were made public and I have read the demands listed in the Demand Letters.

       7.       I am aware that, on April 14, 2025, the DOJ Task Force to Combat Anti-Semitism

froze over $2 billion in federal grants to Harvard. I understand that the federal government has

since refused to disburse funds obligated to these grants despite receiving requests from Harvard

University to do so.

       8.      I am aware that on May 5, 2025, Secretary of Education Linda McMahon an-

nounced that “Harvard should no longer seek GRANTS from the federal government, since none

will be provided.” I am aware that on May 6, 2025, the National Institutes of Health (“NIH”)

terminated its grants to Harvard. I am aware that on May 9, 2025, the Department of Agriculture

terminated its grants to Harvard. I am aware that on May 12, 2025, the Department of Energy,

Department of Defense, the National Science Foundation, and the Department of Housing and




                                                 2
Urban Development each terminated their grants to Harvard. Letters communicating each of these

terminations were made public, and I have read each of those letters. The government has now

canceled about $2.7 billion in federal grants to Harvard.

       9.      I am also aware of a variety of “stop work” orders that have been issued by federal

funding agencies to grants held by researchers working at Harvard beginning in February 2025. I

am aware that on April 4, 2025, the Boston Globe reported on a federal government memorandum

issued March 31 that specified grants for specific research projects the current administration is

targeting. I know that some of these grants belong to UAW members.

       10.     I am also aware of public statements made by the Trump administration beginning

in early 2025 attacking the work of university researchers and the integrity of American universi-

ties and making a range of threats about how the federal government intended to use its authority

to impose numerous demands on Harvard University specifically.

       11.     I am aware that Harvard University has pledged $250 million in one-time stopgap

funding to replace some of the roughly $2.7 billion in terminated funds. That amount is far from

sufficient to replace the terminated funds at Harvard Medical School.

Research Funding

       12.     My salary is covered by an NIH virology training grant. The salaries of three of my

co-workers are also covered by the National Science Foundation Graduate Research Fellowship

Program, and I have been told all of these have been terminated.

       13.     The salary covered by the NIH virology training grant enabled me to study how the

family that includes coronaviruses and the family that includes polioviruses control their gene

expression. This allows me to learn how we can target new medicines to treat these viruses. I can




                                                 3
also use this same information to inform new designs of gene therapies so they have more specific

effects.

           14.   At most, any backup funding source would only cover one of the two of us working

on the picornavirus project and would limit funding for supplies. As a result, I have had to reallo-

cate my time from my research to more grant writing to cover the gaps in funding for projects we

had already secured funding for.

           15.   This grant writing time allocation is in addition to the lab management tasks I now

share with the other postdoctoral fellow in my lab, as our lab manager was laid off in anticipation

of these funding cuts. This includes administrative tasks like ordering supplies and hazardous

waste removal.

           16.   The termination of funding would result in the halting of ongoing experiments,

which could cost hundreds to thousands of dollars in immediate losses.

           17.   While I have been reassured by my direct supervisor that Harvard will provide sal-

ary support for at least one year, I have received no formal or official confirmation.

           18.   If I am unable to find funding to cover my salary (which used to be covered by the

NIH grant), my entire project will stop, as the more junior researcher on the project is unable to

execute the full scope of the project without my oversight and direction. This would cause approx-

imately $250,000 to $300,000 in losses.

           19.   Even if I am able to find immediate partial funding for my salary or research from

private sources, I do not expect this funding to continue beyond the end of this year.

           20.   As the Trump administration halted new grant funding for Harvard, the number of

institutions that could provide grants for this project is severely limited.




                                                   4
Impacts on Speech and Academic Freedom

        21.     The threats to and terminations of Harvard’s federal funding and related demands

by the Trump administration that Harvard make changes to retain its funding have also had a

chilling effect on my actions and the actions of those around me.

        22.     Because of these attacks, for the first time, I have started considering career options

outside of the field I have been studying for more than a decade now. And I have specifically been

applying to less virology projects due to the Trump administration’s attacks on virology.

        23.     People, including myself, have been avoiding certain terms in grant applications,

for example avoiding “diversity” when describing bio-diversity.

        24.     Individuals in my department are actively seeking jobs in other countries because

of the Trump administration’s disinformation around virology, fear for their safety as non-citizen

workers, and among residents, fear that career opportunities in the United States will be gone.

        25.     I am aware of individuals altering their fields of study or fearing the pursuit of

certain fields of study due to concerns that participating in those fields may result in targeting of

them and their work.

        26.     As an individual from a low socioeconomic background, a first-generation citizen,

and the first person in my immediate family to attend college, the attacks have impacted me both

personally and professionally, as I fear that I will be targeted for identity- or diversity-related rea-

sons in addition to my field of study.

        27.     I am publicly active in student and worker advocacy initiatives at Harvard, and I

expect further targeting of individuals who choose to do so. While I have continued this work

publicly, I am aware of others who have ceased doing so, to the detriment of our collective




                                                   5
advocacy. People have actively stated they are worried that even signing a petition for a fair con-

tract could lead them to being deported.



I declare under penalty of perjury under the laws of the United States of America that the foregoing

is true and correct.

Dated: May 30, 2025                                  Signed: /s/ Adam Sychla

                                                     Adam Sychla
                                                     Postdoctoral Research Fellow




                                                 6
